Case 1:06-cv-02318-MSK-MJW Document 43 Filed 01/31/08 USDC Colorado Page 1 of 1


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                             HONORABLE MARCIA S. KRIEGER

  Courtroom Deputy:     Patricia Glover                           Date: January 31, 2008
  Court Reporter:       Paul Zuckerman

  Civil Action No. 06-cv-02318-MSK-MJW

  Parties:                                                      Counsel Appearing:

  ABRAHAM J. OSMAN,                                             Kevin Planegger
  DOROTHY K. OSMAN,

                Plaintiff,

  v.

  UNITED STATES OF AMERICA,                                     Michael Pittman

                Defendant.


                                    COURTROOM MINUTES


  HEARING:      Final Pretrial Conference.

  2:03 p.m.     Court in session.

  Mr. Osman and counsel Kevin Planneger are present. Defense counsel Michael Pittman is present
  and Richard Ward, Chief of Tax Division and representative of defendant, is present by
  telephone.

  Oral findings and conclusions of law are made of record and incorporated herein.

  ORDER:        Motion for Summary Judgment (Doc. #23) is GRANTED. Judgment will enter in
                favor of the Defendant, and the Clerk of the Court will close this case.

  2:35 p.m.     Court in recess.

  Total Time: 32 minutes.
  Hearing concluded.
